     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 1 of 52
                                                                        1




 1                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS
 2

 3

 4    UNITED STATES OF AMERICA                )
                                              )
 5                                            )
      vs.                                     )
 6                                            ) No. 1:16-cr-10134-DPW
                                              )
 7    DAVID TKHILAISHVILI AND                 )
      JAMBULAT TKHILAISHVILI,                 )
 8                                            )
                            Defendants.
 9

10
      BEFORE:    THE HONORABLE DOUGLAS P. WOODLOCK
11

12
                                 SENTENCING HEARING
13

14

15
                  John Joseph Moakley United States Courthouse
16                               Courtroom No. 1
                               One Courthouse Way
17                              Boston, MA 02210
                          Thursday, September 14, 2017
18                                 2:35 p.m.

19

20

21                         Brenda K. Hancock, RMR, CRR
                             Official Court Reporter
22                John Joseph Moakley United States Courthouse
                                One Courthouse Way
23                               Boston, MA 02210
                                  (617)439-3214
24

25
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 2 of 52
                                                                       2




 1    APPEARANCES:

 2          UNITED STATES ATTORNEY'S OFFICE
            By: AUSA Laura Kaplan
 3          John Joseph Moakley Federal Courthouse
            1 Courthouse Way
 4          Suite 9200
            Boston, MA 02210
 5          On behalf of The United State of America.

 6
            FEDERAL PUBLIC DEFENDER OFFICE
 7          By: Oscar Cruz, Jr., Esq.
            District of Massachusetts
 8          51 Sleeper Street
            5th Floor
 9          Boston, MA 02210
            On behalf of the Defendant.
10

11          HEDGES & TUMPOSKY, LLP
            By: Michael L. Tumposky, Esq.
12          Suite 600
            50 Congress Street
13          Boston, MA 02109

14

15

16

17

18

19

20

21

22

23

24

25
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 3 of 52
                                                                             3




 1               (The following proceedings were held in open court

 2    before the Honorable Douglas P. Woodlock, United States

 3    District Judge, United States District Court, District of

 4    Massachusetts, at the John J. Moakley United States Courthouse,

 5    One Courthouse Way, Courtroom 1, Boston, Massachusetts, on

 6    Thursday, September 14, 2017):

 7               THE CLERK:    All rise.

 8          (The Honorable Court entered the courtroom at 2:35 p.m.)

 9               THE CLERK:    This Honorable Court is now in session.

10    Please be seated.     Criminal Action Number 16-10134, United

11    States v. Tkhilaishvili.

12               Alex, please raise your right hand.

13               (Interpreter duly sworn by the Clerk)

14               THE CLERK:    Please be seated.

15               THE COURT:    Well, I have received a series of

16    materials recently, and so I want to be sure that I have

17    identified what is outstanding here.        I have received a

18    supplement to Jambulat Tkhilaishvili's Motion for Judgment of

19    Acquittal.    There has not been a response by the Government to

20    the original motion and nor, obviously, much time for the

21    second one.

22               MS. KAPLAN:    No.   It was served yesterday, your Honor,

23    but I can certainly orally argue it.        I think it is completely

24    distinguishable.

25               THE COURT:    Well, maybe we will hear oral argument.
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 4 of 52
                                                                                  4




 1    But on the earlier Motions for Judgment of Acquittal there was

 2    no opposition filed; not that it is an opposition, but no

 3    explanation.

 4               MS. KAPLAN:    Oh, I see.    I don't even remember that

 5    they filed a written --

 6               THE COURT:    May 4th and May 5th.

 7               MS. KAPLAN:    Well, I will certainly file something in

 8    short order.

 9               THE COURT:    Well, we will talk about it, I think, but

10    I want to be sure that I have got all the papers, and it may be

11    that it is necessary to talk about it before reaching a final

12    conclusion here.     Jambulat Tkhilaishvili has also asked for a

13    Motion to Supplement, and obviously I am going to allow that on

14    the Motion for Judgment of Acquittal.        Jambulat has filed a

15    Sentencing Memorandum, and I believe that is all for Jambulat.

16               Is that right, Mr. Tumposky?

17               MR. TUMPOSKY:    There were two attachments, your Honor.

18               THE COURT:    Attachments to the memorandum itself?

19               MR. TUMPOSKY:    Two letters, yes.

20               THE COURT:    Right, from James Tkhilaishvili and Mia

21    Shvarts?

22               MR. TUMPOSKY:    Exactly.

23               THE COURT:    All right.    So, we have those.        And then

24    with respect to David I have the defendant's Sentencing

25    Memorandum, a Motion for Leave to File Late Objection to the
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 5 of 52
                                                                            5




 1    Final Presentence Report, and I think Probation has responded

 2    to that, Mr. Cruz, haven't they?

 3               MR. CRUZ:    Your Honor, I don't know that they have --

 4    well, they've responded with regard to the objection having to

 5    do with the monies.      I think it was the $11,000, or I believe

 6    it was the $11,000.

 7               THE COURT:    Right.    Well, is there anything else

 8    outstanding as a result of this late filing?

 9               MR. CRUZ:    I don't think so.    I think everything is

10    before the Court, your Honor, on that issue.

11               THE COURT:    Okay.    And I have received yesterday a

12    collection of letters on behalf of David Tkhilaishvili.

13               MR. CRUZ:    Yes, your Honor.

14               THE COURT:    All right.    So, have I identified all of

15    the materials that I should have here, all the written

16    materials?

17               MR. CRUZ:    Yes, your Honor.

18               THE COURT:    Okay.    So, let me just perhaps frame the

19    issue, although I obviously am not going to go anywhere until I

20    resolve the judgment-of-acquittal issues.

21               But with respect to Jambulat Tkhilaishvili, I do not

22    see that there are any objections that I need to resolve here,

23    and what we are dealing with, by the numbers, is a Total

24    Offense Level of 20 and Criminal History Category of I, which

25    generates a guideline range of 33 to 41 months in prison, 1 to
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 6 of 52
                                                                             6




 1    3 years of supervised release, a fine of $15,000 to $150,000,

 2    and a $200 Special Assessment.         Is that shared numbers?

 3                MR. TUMPOSKY:    That is the applicable range, your

 4    Honor.

 5                THE COURT:    All right.    And I take it, Mr. Tumposky,

 6    you and your client have fully discussed the Presentence

 7    Report?

 8                MR. TUMPOSKY:    Yes.

 9                THE COURT:    And, Ms. Kaplan, I take it you agree as

10    well with respect to that?

11                MS. KAPLAN:    Yes, your Honor.

12                THE COURT:    So, then we turn to the question of David

13    Tkhilaishvili, and here for guideline purposes I understand

14    that the relevant guidelines are not disputed, although there

15    are claims with respect to other matters embedded in the

16    discussion.    But the guideline range for David Tkhilaishvili is

17    a Total Offense Level of 20, a Criminal History Category of II.

18    That leads to a guideline range of 37 to 46 months, supervised

19    release of 1 to 3 years, a fine of $15,000 to $150,000,

20    restitution, which is embodied in the Government's amended

21    proposed judgment here, of $14,000, and a Special Assessment of

22    $400.

23                I guess I want to be sure, Mr. Cruz, that I do this

24    properly.    I do not think the objection to the Criminal History

25    Category is an objection to the calculation; it is more an
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 7 of 52
                                                                          7




 1    objection to or suggesting that it overstates?

 2               MR. CRUZ:    That's absolutely right, your Honor.

 3               THE COURT:    Okay.   And then with respect to the

 4    $14,000 --

 5               MR. CRUZ:    Yes.

 6               THE COURT:    -- that is an objection to the guideline

 7    calculation?

 8               MR. CRUZ:    As a technical matter, your Honor, it is an

 9    objection, because it does affect the guideline for the

10    embezzlement counts, although it doesn't affect the overall

11    outcome, because that is not the guideline that controls under

12    the grouping provisions.

13               THE COURT:    All right.    But I think we probably should

14    take up the question of the calculation of restitution here as

15    an initial matter or a threshold matter.         So, let me

16    understand, because I do not believe the Government has filed a

17    Sentencing Memorandum, what the Government's recommendations

18    are going to be.

19               MS. KAPLAN:    With respect to both defendants, your

20    Honor, the Government is asking for incarceration at the high

21    end of the guidelines for each of them, for 3 years of

22    supervised release, a Special Assessment with respect to David

23    Tkhilaishvili of $400, $200 for Jambulat Tkhilaishvili, and

24    restitution in the amount of $14,000 as to David Tkhilaishvili,

25    and fines for both, I believe, in the amount of -- I think it's
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 8 of 52
                                                                           8




 1    $15,000, your Honor.

 2               THE COURT:    And am I correct that this is consistent

 3    with the current Administration's view that the guidelines are

 4    to be adhered to, that is, the guideline sentence is supposed

 5    to be imposed?

 6               MS. KAPLAN:    Yes.

 7               THE COURT:    That is going to be the Government's

 8    recommendation in virtually all cases under the new

 9    Administration, newish Administration?

10               MS. KAPLAN:    I don't know, your Honor, but I did plan

11    to articulate for you why I am asking for a high-ends guideline

12    as to each.

13               THE COURT:    Well, we will get to that.

14               So, let's go back, then, to Jambulat Tkhilaishvili and

15    his Motion for Judgment of Acquittal as supplemented most

16    recently in light of Burhoe.       Do you want to speak to that now,

17    Ms. Kaplan or not?

18               MS. KAPLAN:    The Burhoe issue, your Honor?

19               THE COURT:    Right.

20               MS. KAPLAN:    Yes.    I think that this is taking what --

21    we're also trying to digest what the First Circuit said in that

22    case, but I think it's taking what they said with respect to

23    this matter way too far.      The issue in Burhoe and the property

24    in Burhoe was very different than here.         It involved LMRDA

25    rights as well as wages and benefits, and I think that what
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 9 of 52
                                                                             9




 1    happened was that the First Circuit felt that the Government

 2    did not identify what the property actually was.          It was not

 3    the issue -- well, with respect to one victim, Eddie

 4    Flaherty --

 5               THE COURT:    But I am less concerned about the facts of

 6    Burhoe than the language that Judge Torruella used here, which

 7    is somewhat broad but does not directly address itself to these

 8    particular facts.

 9               If I might frame it, number one, the property here is

10    interest in the business, and that is something that is

11    transferrable, that was the whole point, and it is something

12    that was directed by the defendants through conspiracy here or

13    attempted to be directed.        That is the gist of the distinction,

14    isn't it --

15               MS. KAPLAN:    Yes.

16               THE COURT:    -- between this and Burhoe?

17               MS. KAPLAN:    Yes.    And, specifically, that the

18    property here, we know what the property was, and that with

19    respect to some of it the property was supposed to go into

20    David Tkhilaishvili's hands.        So, we know exactly -- so, it

21    went into the hands of the defendant.        Now, with respect to

22    whether --

23               THE COURT:    But to be directed to somebody else.

24               MS. KAPLAN:    Well, I believe there was also testimony

25    that they wanted 40 percent of any of the -- that Mr. Torosyan
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 10 of 52
                                                                          10




 1     give up his priority distribution right, and that he give

 2     40 percent of any clinic funds available for distribution to

 3     David Tkhilaishvili.     So, that's first, that there was a direct

 4     benefit to the defendants.

 5               But also with respect to monies being directed or

 6     interest being directed to Saba, who was the third party, I

 7     think it's clearly distinguishable from Burhoe, because we know

 8     exactly where that money was going to go; whereas, in the

 9     Burhoe case it was not so clear where the property was going to

10     go.

11               THE COURT:    Well, as to the second part of it, the

12     Government's position on this I assume in the wake of Burhoe,

13     so long as the defendant exercises sufficient dominion and

14     control over the property as to be able to direct it to

15     whatever place he wants to direct it to, then --

16               MS. KAPLAN:    Yes, that the law in Green is still the

17     law.

18               THE COURT:    The question that is raised by Burhoe, I

19     suppose, is the reach and maybe underlined the continued

20     vitality of Green, although not explicitly; nor could it be

21     explicitly challenged by the First Circuit.

22               MS. KAPLAN:    But, again, I think that part of the

23     problem that they had was, as Mr. Tumposky says in his motion,

24     that they say the Government couldn't show the defendant

25     controlled the property and received an unidentifiable benefit.
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 11 of 52
                                                                             11




 1     They struggled with what exactly the property was in Burhoe as

 2     well, which led to some of the problem.

 3                 THE COURT:   So, Mr. Tumposky, you have some language,

 4     not altogether clear as it applies to this case, from the Court

 5     of Appeals.    It seems to me that the labor cases in the

 6     Hobbs Act context are going to generate some activity on the

 7     part of the Supreme Court ultimately.        I do not know what the

 8     Government's intentions are with respect to Burhoe.          There is a

 9     Second Circuit matter that is argued this month -- maybe it has

10     already been argued as well -- but the labor cases are a little

11     bit different from the kind of traditional Hobbs Act cases.

12                 MR. TUMPOSKY:   Well, they are different in the context

13     that certain types of threats are perhaps more privileged in

14     the labor context than they would be in a non-labor context.

15     But in terms of the definition of "property" and what it means

16     to obtain property, there is no distinction --

17                 THE COURT:   So, then, maybe we will look at it this

18     way:     Any question that there was property involved here, an

19     interest in a business?      That is not property?

20                 MR. TUMPOSKY:   No, that is.

21                 THE COURT:   And it is property that can be

22     transferred?

23                 MR. TUMPOSKY:   Yes.

24                 THE COURT:   So, we don't have a property problem, or

25     do we?
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 12 of 52
                                                                             12




 1                 MR. TUMPOSKY:    No.   What we have is an obtaining

 2     problem.

 3                 THE COURT:   So, now the obtainment problem, if I

 4     understand what you are saying, is it has to go directly to a

 5     defendant; is that it?

 6                 MR. TUMPOSKY:    I would suggest that Burhoe could be

 7     read that way.    It could also be read to suggest there must at

 8     least be a direct benefit to the defendant.         It's not, quite

 9     frankly, 100 percent clear.        In this case as to Jambulat

10     Tkhilaishvili I disagree with the Government's contention that

11     actually the testimony about splitting profits ever developed

12     at trial.    That was mentioned in some of the papers in the

13     case, but I don't believe the victim ever testified to that.

14                 THE COURT:   Let's assume that it was not for a moment.

15     If that is going to be critical, then we are going to get the

16     transcript to deal with it first.        But let's assume that it is

17     simply this, which is I think the minimum model of what

18     Ms. Kaplan was talking about, and that is the defendant or the

19     conspirators or the leading conspirator directs that a piece of

20     property go from one person to another and uses extortionate

21     means to obtain that.       Why isn't that within Hobbs Act?

22                 MR. TUMPOSKY:    Well, what Burhoe had was a situation

23     where a union boss, I guess you would call him, threatened

24     employees to get them to transfer certain wages and benefits to

25     employees that he wanted to have those benefits.
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 13 of 52
                                                                            13




 1               THE COURT:    Well, Burhoe went off on the earlier or

 2     the antecedent question -- went off in part on the antecedent

 3     question what was it that was being transferred here.

 4               MR. TUMPOSKY:     That's part of the question, yes.

 5               THE COURT:    And that is where it comes in the labor

 6     context, which has become perhaps ambiguous, perhaps was

 7     ambiguous from the beginning, but ambiguous now.          But that does

 8     not seem to be the case here.       We have got real property that

 9     is being directed by the conspirators.        Whatever "right to

10     wages" means in the context of Burhoe is not really relevant

11     here.

12               MR. TUMPOSKY:     Well, I think it's relevant because the

13     Court identified that as a property interest, just the Court in

14     -- excuse me, I'm blanking on the first case -- it's Sekhar and

15     the other Supreme Court case, Scheidler, identified that there

16     was a property interest and that the defendants in that case

17     had attempted to deprive the victim of that property interest.

18               THE COURT:    Well, no, I think it was a little less

19     clear than that, and certainly such property interest as it

20     existed was attenuated from the attainment dimension.

21     Something else was going on other than the traditional transfer

22     of property, I think, in this context.

23               So, here I am faced with this:       There is property.    I

24     recognize that.    The jury could have found that there was

25     property, and I do too, and the defendant's conspiracy seeks to
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 14 of 52
                                                                             14




 1     direct that property to go to someone else.         There may be more

 2     involved than Ms. Kaplan has alluded to.        But on that minimum

 3     model I do not know how I can say that there is not a Hobbs Act

 4     violation in the non-labor context.

 5               MR. TUMPOSKY:     Because in the context of obtaining,

 6     your Honor, I don't think there is a distinction between the

 7     labor and non-labor context, and the Court seems to be and the

 8     First Circuit agrees that the Supreme Court is turning away

 9     from the sort of third-party extortion, that what you are

10     describing is a crime of coercion, which is not covered by the

11     Hobbs Act.

12               THE COURT:    No.   Well, I am not going to speak for the

13     Supreme Court, but I have a feeling that the Supreme Court is

14     speaking to particular kinds of concerns and particular kinds

15     of activities.    But I am not sure that the Supreme Court, when

16     faced with what I will call "classic Hobbs Act extortion," is

17     going to be indulgent of it.

18               The short of it is I do not see that as a grounds,

19     certainly not a grounds I am going to take up.         I would be less

20     than candid if I did not recognize that this is a yeasty area

21     now, become yeasty as a result of labor issues.         Perhaps one

22     way of looking at Enmons is Justice Stewart knew it when he saw

23     it, but it was a little difficult for him to communicate

24     precisely what the standards were for it.

25               That is all above my salary bracket.        The short of it
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 15 of 52
                                                                           15




 1     is there is a Hobbs Act violation, it is at the core of this,

 2     and this is a classic, and I do not think, while there is some

 3     language in Burhoe that perhaps is somewhat Delphic if it is

 4     applied to other contexts, I do not see this as a case that is

 5     subject to acquittal on that ground.

 6                 So, is there anything else from your acquittal motion?

 7                 MR. TUMPOSKY:   I have several other grounds, your

 8     Honor.

 9                 THE COURT:   Do you want to talk to them a little bit,

10     and I will see whether or not I want to hear from Ms. Kaplan

11     about them?

12                 MR. TUMPOSKY:   So, the first issue that I raised

13     initially was this issue of interstate commerce.

14                 THE COURT:   How can there be really any question about

15     interstate commerce here?      We are dealing with all kinds of

16     commodities that are being used in interstate commerce.

17                 MR. TUMPOSKY:   No, we do, because the extortion was

18     from a person, not from a business, your Honor.

19                 THE COURT:   But it is the impact under those

20     circumstances, isn't it?

21                 MR. TUMPOSKY:   It is, but the fact that the business

22     purchased drugs or supplies from out of state I don't think is

23     relevant.    The issue is whether there is sufficient proof that

24     the depravation, if successful, would have caused an impact on

25     interstate commerce because of the victim's connections to
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 16 of 52
                                                                            16




 1     interstate commerce, and the key issue here is the value of the

 2     asset that was sought.      The evidence at trial was undisputed

 3     that the value of the clinic was then, and perhaps even still

 4     is now, worthless.       They had not made a penny, in fact, they

 5     were losing money.       At the time of trial they still had not

 6     turned a profit.     And the victim himself testified, and I think

 7     the Court can credit this, should credit this as dispositive,

 8     that the clinic was worthless.         And so, a transfer of a

 9     percentage of a worthless asset, a piece of paper, from one

10     person to another, that's not going to impact interstate

11     commerce.

12                 THE COURT:    Well, I think I understand the argument.

13     I have to reject it.      So, what else?

14                 MR. TUMPOSKY:    I think we addressed the two main

15     arguments, your Honor.

16                 THE COURT:    All right.    So, I am formally going to

17     deny the Motion for Judgment of Acquittal by Jambulat

18     Tkhilaishvili, after having considered as well the supplement

19     and the new perspectives that are thrown on this by the Burhoe

20     decision, but none of them satisfy me that there is not

21     sufficient evidence here for a finder of fact to find, and I

22     also find by a somewhat different standard, that all of the

23     elements are met.     I say a "somewhat different standard,"

24     because, of course, it impacts the way in which I would have to

25     evaluate the case for purposes of sentencing.
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 17 of 52
                                                                              17




 1               So let's, then, turn to the Motion for Judgment of

 2     Acquittal with respect to David Tkhilaishvili.         I am not sure

 3     that as to Counts One and Two there is anything new that you

 4     have to add beyond what Mr. Tumposky offered.

 5               MR. CRUZ:    That's correct, your Honor.      And, for the

 6     record, Mr. Tumposky had filed that supplement regarding the

 7     Burhoe decision yesterday.      I just want to note for the record

 8     that I'm joining in that argument as well.

 9               THE COURT:    All right.

10               MR. CRUZ:    Your Honor is correct with regard to Counts

11     One and Two.    With regard to Counts Three and Four having to do

12     with embezzlement, your Honor, I would reiterate the argument

13     that we made previously, which is that the issue of whether or

14     not the clinic at the time of the embezzlement, Counts Three

15     and Four, was a health care benefit program falls squarely on

16     whether or not the clinic had been contracted with Medicare

17     and --

18               THE COURT:    If I can, what is the standard that you

19     want to apply here, some sort of bright line when the contract

20     is actually signed?

21               MR. CRUZ:    Well, when the clinic itself starts

22     receiving reimbursements for having treated patients.

23               THE COURT:    But doesn't the case law out there suggest

24     a much more functional approach to it; that is, if this would

25     receive benefits then it comes within the scope?
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 18 of 52
                                                                          18




 1               MR. CRUZ:    Well, I think in terms of the -- the

 2     embezzlement count is specific to November of 2015.

 3               THE COURT:    Right.

 4               MR. CRUZ:    And I think the issue as it was charged in

 5     that way is whether or not the clinic itself had contracted

 6     with these insurance carriers and was receiving these

 7     reimbursement payments at the time of the alleged offense

 8     conduct, and there's no evidence to support that, your Honor.

 9               THE COURT:    Well, did they ever receive reimbursement?

10               MR. CRUZ:    They would have received reimbursement

11     after they had received those letters in January and thereafter

12     of 2016 indicating that the contracts with the insurance

13     carriers had been approved.      Then they could submit requests

14     for reimbursement at that point.

15               THE COURT:    So, the thrust of it is, if at the time

16     that the service was rendered --

17               MR. CRUZ:    Yes, your Honor.

18               THE COURT:    -- there was not in place an enforceable

19     agreement to pay for it --

20               MR. CRUZ:    Yes, your Honor.

21               THE COURT:    -- then it comes out -- from your

22     perspective is outside of this kind of embezzlement?

23               MR. CRUZ:    Yes, your Honor, because I don't think it

24     can be defined as a health care benefit program if no benefit,

25     quote, unquote, is passing to a patient and being reimbursed by
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 19 of 52
                                                                               19




 1     an insurance carrier.

 2               THE COURT:    Do you want speak to that?

 3               MS. KAPLAN:    Yes, your Honor.     I don't know what case

 4     Mr. Cruz is referring to.      The definition is in 18 U.S.C.

 5     Section 24(b), which defines a "health care benefit program,"

 6     and it clearly states that the contract just needs to be in

 7     place, and the contracts were in place as early as July for

 8     Medicare, the Medicare contract, and then in November came -- I

 9     believe it was November came the MassHealth.

10               THE COURT:    All right.    But let's just take the

11     particular transactions that are involved here.

12               MS. KAPLAN:    Okay.   So, the $5,000 and $6,000 --

13               THE COURT:    But those were not charged.

14               MS. KAPLAN:    They were not charged.

15               THE COURT:    So, let's talk about the ones that were

16     charged first.    Then we will go to the other ones.

17               MS. KAPLAN:    Okay.   So, those were monies that

18     Mr. Tkhilaishvili took, I believe, in November, and so there

19     was two contracts in place.

20               THE COURT:    So, if I may, any time he takes money and

21     the business is related in some fashion to a health care

22     program, then that is subject to embezzlement?

23               MS. KAPLAN:    Yes, as long as the definition of 24(b)

24     is met, which is that there is a contract in place, and it says

25     "which payment may be made under the plan or contract."          "May
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 20 of 52
                                                                            20




 1     be made."    There is nothing that says that payments or

 2     reimbursements have to have been made.         There has to be a

 3     contract in place, and there were.

 4                 THE COURT:    Would the clinic at that time have a right

 5     to enforce payment on its services?

 6                 MS. KAPLAN:    Yes, I believe so.

 7                 THE COURT:    How?

 8                 MS. KAPLAN:    From the time that the contract is signed

 9     and in place, from the time they get an executed contract with

10     Medicare or with Harvard Pilgrim, if they have rendered

11     services after that time period --

12                 THE COURT:    Why was there the lag?

13                 MS. KAPLAN:    What lag?

14                 THE COURT:    The lag between this kind of payment and

15     the authorization right.         Let me just understand that more

16     fully.

17                 MS. KAPLAN:    I'm not sure I'm following your question.

18                 THE COURT:    Well, you have got a payment made on

19     November 3rd of $1,500; then you have a payment made of $2,000.

20     You do not have any income coming in from the insurers, right,

21     during that time period?

22                 MS. KAPLAN:    Okay.

23                 THE COURT:    Did we have evidence that, in fact, there

24     were payments made thereafter?

25                 MS. KAPLAN:    So, there had been clients seen who had
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 21 of 52
                                                                           21




 1     submitted claims and that Allied Health would have gotten

 2     reimbursed, you mean?

 3               THE COURT:    Yes.

 4               MS. KAPLAN:    As I am sitting here right now, I can't

 5     remember if we did have that evidence.

 6               THE COURT:    Well, let's assume that they did not, not

 7     that I am saying that they did not.        Let's assume that they did

 8     not, and so what we have is a contractual provision that says

 9     "may be paid" is the triggering event.

10               MS. KAPLAN:    Yes.

11               THE COURT:    And here they have a contract that says,

12     "We could be paid," but no evidence that they were, in fact,

13     paid.

14               MS. KAPLAN:    I believe that the evidence was --

15               THE COURT:    I am assuming for a moment that there was

16     not.

17               MS. KAPLAN:    That there were not.      I still think that

18     it's money that's available to them under a health care benefit

19     program, and those monies are health care monies.

20               THE COURT:    So, a "health care benefit program," if I

21     understand it from your perspective, is a business that has

22     contracts with one of these entities to receive reimbursement?

23               MS. KAPLAN:    It "means any public or private plan or

24     contract...under which any medical benefit, item or service is

25     provided to any individual."
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 22 of 52
                                                                            22




 1                 THE COURT:    "Is provided."

 2                 MS. KAPLAN:    Right.   And then it says "any individual

 3     or entity who is providing a medical benefit..." and ..."which

 4     payment may be made under the plan or contract."

 5                 THE COURT:    How do I know that they were providing to

 6     an individual a medical benefit for which payment would be

 7     made?

 8                 MS. KAPLAN:    Well, that was what the business was.

 9     They weren't doing anything else.       And I believe there was

10     testimony that they started seeing patients in November, so

11     they were providing health care benefits.

12                 THE COURT:    If they were not.

13                 MS. KAPLAN:    If they weren't providing health care

14     benefits?

15                 THE COURT:    I am asking more a factual-sufficiency

16     question.

17                 MS. KAPLAN:    Right.   I still think that whatever

18     monies are there in that account, once they have those

19     contracts in place, they are a health care benefit program,

20     regardless of whether they have opened their doors and started

21     seeing patients or not.      Those monies are dedicated to and

22     devoted to a health care program.

23                 THE COURT:    Where did the monies come from?

24                 MS. KAPLAN:    Victor Torosyan.

25                 THE COURT:    So, these are misapplications of monies,
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 23 of 52
                                                                             23




 1     funds, securities, premiums...or other assets of a health care

 2     program, and they are assets because they are capital that is

 3     provided by Mr. Torosyan?

 4               MS. KAPLAN:    Yes.

 5               THE COURT:    Do you want to speak to that?

 6               MR. CRUZ:    Your Honor, just briefly.      The contracts

 7     are not in place until after the first of the year, January in

 8     2016.

 9               THE COURT:    Well, what was signed in July?

10               MR. CRUZ:    What was done in July is applications were

11     made with regard to Medicare, and then there was a later

12     application to Harvard Pilgrim Health that was contingent on

13     Department of Public Health certification.

14               THE COURT:    So, the point, I guess, is that you have

15     triggering events, and your triggering event is approval of the

16     application; is that it?

17               MR. CRUZ:    Triggering event, yes, is approval of the

18     application.    At that point I would suggest that reimbursements

19     can be made upon request by the clinic.        As the Court noted --

20               THE COURT:    Don't they do nunc pro tunc?

21               MR. CRUZ:    In terms of paying back, if you will, for

22     services provided?

23               THE COURT:    Right.

24               MR. CRUZ:    Again, your Honor, how the Court looks at

25     the evidence, I don't think there was any evidence provided to
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 24 of 52
                                                                                24




 1     the Court about that --

 2               THE COURT:    Well, okay.    So, let me just suggest this

 3     with respect to this aspect of it, which is I think facts are

 4     important on this one.      I want to have the Government's

 5     response as to these two counts, and I think -- well, there is

 6     going to be a record created, so it should be the record, and

 7     the Government can show me the evidence that you rely upon, and

 8     Mr. Cruz can more clearly identify what -- not more clearly --

 9     but with reference to the evidence actually submitted what we

10     do with Counts Three and Four.

11               MS. KAPLAN:    I don't have a problem with that, your

12     Honor.   I don't have the exhibits in front of me, but they were

13     in evidence before this jury.

14               THE COURT:    I understand there is a dispute about them

15     and a larger dispute that I think I would like to have

16     developed.

17               MS. KAPLAN:    Okay.

18               THE COURT:    I think it is possible to take the

19     position -- I think it is possible to argue the position that

20     there has to be a triggering event.        You are essentially saying

21     the triggering event is when they applied for this, right?

22               MS. KAPLAN:    No, I'm not.    I'm saying --

23               THE COURT:    Then, that is why I go back to this

24     earlier question.     Assume that they rendered these services at

25     this time and then sought reimbursement at that time.            Could
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 25 of 52
                                                                              25




 1     they be paid?

 2                MS. KAPLAN:    Okay.    That I would have to look at the

 3     contracts for, because I have a recollection that those

 4     contracts do, in fact, address that issue.         But the triggering

 5     event that we used was there was actually a contract in place,

 6     and the evidence that we submitted, the Medicare, is a

 7     contract, and it says, Medicare said, "You can now start

 8     providing services, and we will reimburse you."         That's in

 9     July.    And the second contract --

10                THE COURT:    I would really have to look at it.

11                MS. KAPLAN:    Okay.

12                THE COURT:    You say so.    I do not have a clear

13     recollection about it, and this may turn on precisely that.

14                MS. KAPLAN:    Okay.

15                THE COURT:    So, how long do you need to respond to it?

16                MS. KAPLAN:    I can get it to you early next week, your

17     Honor.

18                THE COURT:    Okay.    So, we will deal with that part of

19     it.   I think I may, however, address the question of sentencing

20     here, at least preliminarily, because I am not sure that it

21     turns on this, apart from the restitution, which we will get to

22     in just a second.      Does it?   It does not drive the guidelines,

23     does it?

24                MR. CRUZ:    Your Honor, you are correct.      Counts One

25     and Two, the Attempted Extortion and Conspiracy, are what
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 26 of 52
                                                                               26




 1     drives the guidelines here.

 2                 THE COURT:    And this is in addition to it.

 3                 MR. CRUZ:    Mm-hmm.

 4                 THE COURT:    All right.   So, let's talk about the, what

 5     is it, $6,000 and $5,000 checks?

 6                 MR. CRUZ:    Yes, your Honor.

 7                 THE COURT:    Not that it is necessary, but why didn't

 8     you charge it?

 9                 MS. KAPLAN:    Because we didn't realize at the time

10     that there was a Medicare contract that had already been

11     signed.   We didn't have --

12                 THE COURT:    But you must have for purposes of the

13     other, Counts Three and Four.

14                 MS. KAPLAN:    We did, and that came later, because we

15     had the Harvard Pilgrim contract, which I believe was signed in

16     November.    Whatever contract we had I believe was in November.

17     That's why we charged the November amounts.         It was completely,

18     you know, an oversight that we just didn't have that contract

19     or didn't realize that Medicare was, in fact, in effect as

20     early as July, and then the $5,000 and $6,000 came afterwards.

21                 THE COURT:    Well, let me go back to that, then.     So,

22     this is depending on the Medicare contract, which is contingent

23     on the discussion that we have had already here --

24                 MS. KAPLAN:    Yes.

25                 THE COURT:    -- that I want more on that to get it
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 27 of 52
                                                                             27




 1     clarified.

 2               But let me understand from Mr. Cruz, assume that this

 3     is a Medicare contract.      Why isn't it related?

 4               MR. CRUZ:    Assuming that it is -- well, your Honor,

 5     it's not related because I don't believe that it is -- and if

 6     we're talking about relevant conduct for purposes of the

 7     guidelines, there is --

 8               THE COURT:    We are thinking about two things.        We are

 9     thinking, number one, about relevant conduct for purposes of

10     the guidelines.    That drives the number a bit.

11               MR. CRUZ:    Yes, your Honor.

12               THE COURT:    The second is forfeiture.

13               MR. CRUZ:    Yes, your Honor.     And, again, I think those

14     are separate issues.     If I can deal with the relevant conduct

15     issue first?

16               THE COURT:    Sure.

17               MR. CRUZ:    The argument that I would make to the

18     Court, essentially, is that the evidence before the Court that

19     was placed to the jury on those issues, again, the jury didn't

20     pass on them because they are not charged conduct, but the

21     Court heard conflicting evidence about whether that amount of

22     money, the $11,000, was lent to Mr. Tkhilaishvili or whether he

23     took it without Mr. Torosyan's knowledge and/or authorization.

24     And if the standard is the Government at this point has to

25     prove to the Court at a sentencing hearing under a
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 28 of 52
                                                                                28




 1     preponderance of the evidence that this was somehow related to

 2     the offense conduct, I don't think they have made that

 3     threshold showing based on the inconsistencies not only from

 4     the testimony --

 5               THE COURT:    Then, that is a question of factfinding by

 6     me.

 7               MR. CRUZ:    Yes, your Honor.

 8               THE COURT:    Do I rely upon the testimony of

 9     Mr. Torosyan?    Do I find it credible?

10               MR. CRUZ:    Yes, your Honor.     It's the testimony of

11     Mr. Torosyan, which I recall was that he said on the stand he

12     didn't know about Mr. Tkhilaishvili taking the money.            Then

13     there is the testimony of Special Agent Keith Nelson, who took

14     a statement from Mr. Torosyan stating that the money was lent

15     to Mr. Tkhilaishvili in the exact same increments, $5,000 and

16     $6,000, totalling $11,000.      Then the Government presented a

17     prior consistent statement where Agent Koch testified that he

18     reiterated that or stated at that point at a later date that

19     the monies were taken by Mr. Tkhilaishvili, that he didn't

20     authorize it.

21               I would suggest to the Court those are the facts.             The

22     Court can look at the prior consistent statement as, I would

23     argue, less credible than the initial statement when the

24     information was fresh in Mr. Torosyan's mind and he's telling

25     Agent Nelson --
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 29 of 52
                                                                           29




 1               THE COURT:    Maybe you will remind me of the chronology

 2     here.

 3               MR. CRUZ:    Yes, your Honor.

 4               THE COURT:    Mr. Torosyan is interviewed by -- I forget

 5     the other agent's name.

 6               MR. CRUZ:    Agent Nelson.

 7               THE COURT:    Nelson.    On what date?

 8               MR. CRUZ:    That is February 5th of -- I'm sorry -- the

 9     report is dated February 5th, 2016.

10               THE COURT:    And the interview with Agent Koch is when?

11               MR. CRUZ:    That is March 14th, 2016.

12               THE COURT:    So, about a month later?

13               MR. CRUZ:    Yes, your Honor.

14               THE COURT:    About, I should say, 13 months later; is

15     that right?    March of 2015?

16               MR. CRUZ:    I'm sorry, your Honor.      February 5th, 2015

17     to March 14th, 2016.

18               THE COURT:    Okay.   So, a month later.     All right.

19               MS. KAPLAN:    And I believe there was a second prior

20     consistent statement.     I believe that there were two.

21               THE COURT:    Let me tell you again I am not going to

22     pretend that I have mastered this, and I want to see the

23     transcript references to this.

24               MR. CRUZ:    Yes, your Honor.

25               THE COURT:    So, this is stuff that you should get the
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 30 of 52
                                                                              30




 1     transcript on, I think.

 2               MR. CRUZ:    Mm-hmm.

 3               THE COURT:    This is kind of for the Government as

 4     well.   Get what you think is necessary for me to resolve these

 5     kind of factual questions.

 6               MR. CRUZ:    Yes, your Honor.

 7               THE COURT:    So, we will put both the embezzlement and

 8     the restitution forfeiture to one side for a moment.

 9               MR. CRUZ:    That's fine, your Honor.      But with regard

10     to the criminal forfeiture, there is one thing that I want to

11     add, that the statute that's referenced by the Government in

12     its request is 982(a)(7), and that specifically references a

13     Federal health care offense, and what I just want to note for

14     the Court is that the item that is subject to forfeiture has to

15     be "derived, directly or indirectly, from gross proceeds

16     traceable to the commission of the offense," and I believe that

17     references the offense of conviction that is stated in the

18     Indictment.

19               THE COURT:    So, I am going to let you brief that as

20     well --

21               MR. CRUZ:    That's fine, your Honor.

22               THE COURT:    -- as an opposition to the Amended Motion

23     for Forfeiture --

24               MR. CRUZ:    Yes, your Honor.

25               THE COURT:    -- which was filed, I believe, yesterday.
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 31 of 52
                                                                            31




 1                 MR. CRUZ:    Yesterday.   Yes, your Honor.

 2                 THE COURT:    So, let's sort through the schedule for

 3     these two aspects of it, although I want to hear argument from

 4     both parties as to sentence.

 5                 MR. CRUZ:    Yes.

 6                 THE COURT:    I want to get this so I am not getting

 7     bits and pieces and it is coming at more or less the same time.

 8     Ms. Kaplan said that she would be able to get this to me next

 9     week, but there is evidentiary material I think that has to be

10     developed on aspects of it.       So, what is a more realistic time

11     for it?

12                 MS. KAPLAN:    Well, if we need to get the transcript,

13     I'm not sure so.

14                 THE COURT:    In the ordinary course the transcript

15     would be a month?

16                 THE COURT REPORTER:    Yes.

17                 THE COURT:    So, assume that the transcript ordered

18     today is available to you on the 16th of October, that is

19     Monday, the 16th, then can you have a response by October 23?

20                 MS. KAPLAN:    On all the issues?

21                 THE COURT:    On all the issues, yes.

22                 MS. KAPLAN:    Yes.

23                 THE COURT:    Okay.   Then, Mr. Cruz, October 30 for

24     response.

25                 MR. CRUZ:    That's fine, your Honor.    Thank you.
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 32 of 52
                                                                            32




 1               THE COURT:    And then with respect to the narrower

 2     issue or separable issue of the forfeiture amendment I think it

 3     is probably better for you to file your opposition, Mr. Cruz,

 4     by the 28th.

 5               And then, Ms. Kaplan, you can respond -- what did I

 6     have, the 23rd, October 23rd, for the other --

 7               MS. KAPLAN:    November 23rd?

 8               THE COURT:    October 23rd, didn't I, for the --

 9               MS. KAPLAN:    He's filing October 28th.

10               THE COURT:    No, he is going to file on September 28th.

11               MS. KAPLAN:    Oh, September 28th.

12               MR. CRUZ:    That's fine, your Honor.

13               THE COURT:    Yes.   I am just trying to give you one

14     date to remember.

15               MS. KAPLAN:    Okay.    On 10/23 I will respond to that.

16               THE COURT:    Yes.   And you will get a reply on 10/30.

17               What we do by way of rescheduling -- well, I want to

18     hear preliminary argument.       I think it is not appropriate for

19     me to sentence Jambulat Tkhilaishvili and not David at the same

20     time, because they are comparators, and I do not want to have

21     dealt with Jambulat without dealing with David.

22               But let me understand the Government's position with

23     respect to at least so much as deals with the conspiracy and

24     the attempted extortion.

25               MS. KAPLAN:    So, do you want me to start with Jambulat
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 33 of 52
                                                                             33




 1     or --

 2               THE COURT:    Both.

 3               MS. KAPLAN:    -- both?

 4               THE COURT:    It is just that I am not going to be

 5     ruling on both of them today.

 6               MS. KAPLAN:    I understand.     Okay.   So, I'll start with

 7     David Tkhilaishvili.     And, again, the Government understands

 8     that the Court has to look at the sentencing factors under

 9     3553(a) in fashioning a sentence which is sufficient but not

10     greater than necessary to comply with the purposes of the

11     Sentencing Guidelines.      And, as I said, we are recommending a

12     sentence at the high end of the guidelines, and I will explain

13     why.

14               Looking at the nature and circumstances of this

15     offense, there's no question that the crime of extortion, in

16     general, is a serious offense and, in particular, this one.

17     Your Honor, you presided over the trial.        You heard about the

18     defendants' conduct.     With respect to the victim in this case

19     and the threats to harm him, to harm his family, to burn his

20     business down, this defendant made a decision to take the law

21     into his own hands and to take property from the victim that

22     was not his.

23               Looking at this particular defendant and his

24     particular role in the offense, we believe that a sentence at

25     the high end of the guidelines is appropriate for these
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 34 of 52
                                                                        34




 1     reasons:   First, the defendant threatened the victim's family,

 2     and under United States Sentencing Guidelines, Section 2B3.2,

 3     Application Note 8, it says that if the offense involved a

 4     threat to a family member of the victim an upward departure may

 5     be warranted.    So, I am not asking for an upward departure, but

 6     I am asking for a high end of the guideline sentence.

 7                Second, immediately prior to the trial your Honor may

 8     recall that the defendant reached out to a witness in the case

 9     in direct violation of the Court's Order not to have contact

10     with any witnesses.     He, in fact, gave this witness money,

11     which the Government views as an attempt to tamper with a

12     witness.

13                Similarly, your Honor may recall that after that

14     occurred and during the trial this defendant again disobeyed

15     your Honor's instructions and order not to have contact with

16     any witnesses or persons connected with the case, and he

17     approached the person that had come to court with Mr. Torosyan

18     and told him that Mr. Torosyan was a liar; and we, again, view

19     this as yet another attempt to intimidate this individual as

20     well as Mr. Torosyan in direct contradiction to your order.

21                And, finally, your Honor, you may recall that when the

22     agents arrested the defendant on your arrest warrant for having

23     been in violation of the conditions of release, which was that

24     he not contact the witnesses, he specifically threatened to

25     kill the case agent.
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 35 of 52
                                                                           35




 1               This defendant has no respect or regard for the law,

 2     and the way that he behaved before and during trial, as well as

 3     the tapes in this case where he says he has no respect for the

 4     law, indicate that he believes he's above the law.

 5               In the letters from the defendant's family that were

 6     submitted, they seem to be under the impression that David

 7     Tkhilaishvili funded Allied Health, when the evidence at trial

 8     was completely undisputed that Allied Health was completely

 9     funded by Victor Torosyan.

10               And moreover, even in Mr. Cruz's arguments to the

11     Court in the Sentencing Memo the defendant accuses the victim

12     of having taken his business, a business that was entirely

13     funded by the victim, a man who the evidence showed had come to

14     this country with no money.      He took the defendant under his

15     wing, he treated him like a son and on numerous occasions he

16     gave him money and gifts.      The defendant did nothing to thank

17     the victim in this case for his generosity both with respect to

18     person loans and the gifts as well as funding Allied Health,

19     and he used the victim's money which funded Allied Health as

20     his own personal bank account.

21               What he did was to use threats of physical violence to

22     try and steal what was not his and threats not only to his own

23     life but to that of the family and business of Mr. Torosyan.

24     He has left the victim in this case, who did not want to come

25     to court today, but I believe did submit a letter -- I hope the
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 36 of 52
                                                                               36




 1     Court has seen it -- but he has left him --

 2               THE COURT:     I don't believe I have.

 3               MS. KAPLAN:     Oh.

 4               THE COURT:     I don't know if it is on file.

 5               MS. KAPLAN:     We did give that to Probation.         I have a

 6     copy, if your Honor --

 7               THE COURT:     Why don't you pass it up.

 8               (Document provided to the Court by Ms. Kaplan)

 9               THE PROBATION OFFICER:      Your Honor, I believe it may

10     have been attached with the final disclosure of the Presentence

11     Report, but I do not recall if it, in fact, was attached or

12     not.

13               THE COURT:     It is not in the copy that I had.

14               THE PROBATION OFFICER:      My apologies to the Court.

15               MS. KAPLAN:     So, as you can see from this letter, this

16     is -- and you saw from his testimony, your Honor -- this is a

17     man who had come to this country with nothing, he built up

18     these businesses, and he is now a shattered man who has been

19     caused great emotional distress and financial injury by David

20     Tkhilaishvili.

21               And the defendant in his papers shows no remorse for

22     any of the conduct.     The Government submits that he is a con

23     man.   He uses people.    He takes things by threat, things that

24     are not his.    He refers to himself in his letter as a person

25     who has always shown respect for people, yet the evidence at
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 37 of 52
                                                                              37




 1     trial showed otherwise.      With respect to how he treated Victor

 2     Torosyan, your Honor heard the words for yourself on the tapes.

 3     The jury also heard from two other witnesses who were employees

 4     of Allied Health who testified that the defendant got so angry

 5     at them he threw a table over and went to hit Kenton Fabrick.

 6     This was witnessed also by Olga Dorofyeyeva.         On another

 7     occasion these witnesses reported that the defendant had hit

 8     his former girlfriend, Kristina, also while at work, also while

 9     Mr. Tkhilaishvili was in a fit of rage.

10               And these are the reasons, your Honor, that the

11     Government believes that a sentence at the high end of the

12     guideline range is necessary.       This sentence will promote

13     respect for the law.     It will deter this defendant from

14     engaging in further criminal conduct.        It will tell him that he

15     cannot take the law into his own hands, and he cannot when he

16     gets angry threaten to kill people and extort them.          It will

17     protect the public from further crimes of this defendant, and

18     it will send a message that threats to cause physical harm

19     cannot be used to settle business disputes, and such conduct

20     will be prosecuted.

21               We believe that a sentence of 46 months is not greater

22     than necessary, but it is sufficient to protect the public and

23     send a message to the defendant.

24               THE COURT:    To what degree is your recommendation

25     inflected by the embezzlement dimension to it?
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 38 of 52
                                                                               38




 1                MS. KAPLAN:    It's not, your Honor.     It's not at all.

 2                THE COURT:    And I will hear you as to Jambulat as

 3     well.

 4                MS. KAPLAN:    Okay.   Sorry.   Again, using the 3553(a)

 5     factors in fashioning his sentence, the Government also

 6     believes a sentence at the high end of the guideline range is

 7     appropriate in this case.      Again, there's no question of the

 8     seriousness of this offense, and, again, your Honor heard the

 9     facts in this case.      In the defendant's Sentencing Memorandum

10     he tries to pin all of the responsibility on his younger

11     brother who he claims to have just been following.          He claims

12     he's done this all his life.      He came to this country to follow

13     his younger brother.

14                But short of actually writing checks to himself and

15     embezzling the money from Allied Health, this defendant was

16     with his brother and was in lockstep every step along the way

17     of this conspiracy to extort Allied Health, including

18     threatening to harm the victim, Victor Torosyan.          He even at

19     one point met with Victor Torosyan when David Tkhilaishvili

20     wasn't here.

21                Your Honor also heard about the threats made to

22     another witness, Olga again, that if she wronged him he would

23     cut her.

24                Jambulat Tkhilaishvili argues that his family needs

25     him and depends on him, but the Government submits that he
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 39 of 52
                                                                             39




 1     should have thought about that before he entered into a

 2     conspiracy with his brother to extort Mr. Torosyan.

 3                We believe that the sentence of 41 months will promote

 4     respect for the law.     It will deter specifically this defendant

 5     as well as the general public.        It will send a message of

 6     deterrence that you simply cannot use threats of physical harm

 7     to settle business disputes.

 8                And we believe, again, that 41 months is not greater

 9     than necessary, but it is sufficient to protect the public and

10     send a message to the defendant.

11                THE COURT:    All right.     So, I have the defendant's

12     Sentencing Memorandum, but I think for present purposes, so

13     that this is not left unanswered here, what I would frame is

14     simply this:    Assume that I believe Mr. Torosyan.        How do I

15     treat the threats?      Whiskey talk?    What is it?

16                MR. CRUZ:    Well, your Honor, with regard to David

17     Tkhilaishvili, I think the Court had actually during the course

18     of trial also referenced the conversations as, quote, unquote,

19     ragtime.

20                THE COURT:    It is, but just so you know what you are

21     dealing with --

22                MR. CRUZ:    Yes, your Honor.

23                THE COURT:    -- they were instinct with menace.

24     Whatever the linguistic rigor was of those conversations there

25     is no question in my mind that what was attempted to be
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 40 of 52
                                                                              40




 1     delivered was threats of physical harm, not merely to

 2     Mr. Torosyan, but to his family.       So, assume that that is the

 3     case and delivered in ragtime syncopation.         But there is

 4     melody, and then there are lyrics, and the lyrics were

 5     menacing.    What am I supposed to do with that?       Do I treat it

 6     as someone who is volatile?      Is that it?    That is really what I

 7     am asking about here.

 8                 MR. CRUZ:    And I would say no to that question, your

 9     Honor, and the reason for that is because the Court can look at

10     this from the perspective of what started the entire dispute

11     here, which was what is going to happen with this business in

12     terms of the ownership.      That doesn't take away from the

13     severity of threats, but what I would suggest to the Court is

14     that those threats, quote, unquote, have to be measured by the

15     actions and activities of the person who the threats were

16     directed to.

17                 THE COURT:   Yes, but the person who the threats were

18     directed to was not suggesting physical harm as his means of

19     resolving the conflicts.

20                 MR. CRUZ:    No, he wasn't, your Honor.    And, again, how

21     severe the Court looks at the threats depends I think to some

22     extent on the reaction of the person who the threats are

23     directed to, and I think the evidence in the case is clear

24     that, despite these threats being made, Mr. Torosyan continued

25     to work with not only David but his brother James for a lengthy
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 41 of 52
                                                                              41




 1     period of time.    In addition, he allowed David access to his

 2     home in Mashpee, despite the fact that these threats, quote,

 3     unquote, were made to him personally and to his family.          And I

 4     would suggest to the Court that the jury could have found,

 5     obviously, any type of threat was made in order for the

 6     enhancement to the base Offense Level to be made.          I believe

 7     the footnote to that particular guideline section states that a

 8     threat to property would be sufficient to trigger that

 9     two-level enhancement from the base Offense Level of 18.

10               THE COURT:    So, I look at this and say it is somewhat

11     perplexing that Mr. Torosyan stayed on.        On the other hand,

12     given the threats, it might have been thought to be a good

13     career move, too.     So, I am supposed to look at this and say

14     David had reason to be upset, he delivers these threats, they

15     must not have been so serious or Mr. Torosyan would not have

16     continued in his relationship with him?

17               MR. CRUZ:    I think that there would have been more of

18     a response along those lines.       And, again, not taking away or

19     disrespecting the decision of the jury, but obviously they

20     found that something happened here that was an attempt to

21     coerce or to force Mr. Torosyan to do something he didn't want

22     to do, and I think that has to be seen from the perspective of

23     not only the, quote, unquote, threats themselves and

24     Mr. Torosyan's reactions to them after the fact, but also it

25     has to be couched in their relationship, which at that point
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 42 of 52
                                                                             42




 1     was a decade old.

 2               Mr. Torosyan well knew who he was dealing with when he

 3     entered a business relationship with Mr. Tkhilaishvili.          He

 4     knew about all of the problems that he had had with regard

 5     to --

 6               THE COURT:    But had not been the subject of threats,

 7     or even was there any evidence that he was aware that David

 8     Tkhilaishvili had anger-management problems?

 9               MR. CRUZ:    And, again, your Honor, if he knew those

10     things he could have disassociated himself with

11     Mr. Tkhilaishvili at a much earlier point.

12               THE COURT:    But he did not.     The point is he did not,

13     or at least there is no evidence that he did.

14               MR. CRUZ:    Yes, your Honor.     And he didn't do that

15     over the course of eight to ten years because he felt that he

16     couldn't do that.     He did that because he knew this man very

17     well.   He knew what he was --

18               THE COURT:    What I guess I am getting at is this was

19     the first occasion on which, in the evidence anyway, the first

20     occasion on which he was exposed to this side of

21     Mr. Tkhilaishvili.

22               MR. CRUZ:    Yes, which I would suggest to the Court

23     perhaps on prior occasions he had shrugged off as

24     Mr. Tkhilaishvili, this is his character, this is how he acts,

25     these are the things that he says, he doesn't always mean what
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 43 of 52
                                                                             43




 1     he says.   But now we're dealing with a business relationship

 2     where money is at stake, and, "He is saying things to me in

 3     order for me to do something I don't want to."         I think that's

 4     the context of it.

 5                But, again, your Honor, he would have disassociated

 6     himself with Mr. Tkhilaishvili at a much earlier point if he,

 7     in fact, was in fear of him or had any reservation whatsoever

 8     about his safety or the safety of his family.         He certainly

 9     wouldn't have entered into a business relationship with him,

10     but he knew him well enough at that point to trust that this

11     was a good decision for him.

12                THE COURT:   Well, there are several different points

13     in time, but I think I understand that.        Is there anything else

14     that you would like to talk to at this point?         I simply want to

15     be sure that I have got the tenor.

16                MR. CRUZ:    Yes, your Honor.    And just to get back to

17     what we were just discussing, I think that's an argument

18     generally that the case to a certain extent can be taken out

19     of, if the Court will, the heartland of these types of cases

20     where there is a direct threat made to an individual, where

21     there is violence exerted upon an individual in order to force

22     them to do something.     It is not an indirect situation,

23     necessarily, where you are saying at one point that you are

24     going to do something and then you're saying, "Well, I wouldn't

25     do that to you," that sort of thing.        There may be some
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 44 of 52
                                                                              44




 1     distinction that the Court can make under the circumstances,

 2     given the prior relationship and what happened with these two

 3     men during the course of the offense conduct that I just want

 4     the Court to consider.

 5                THE COURT:   All right.

 6                MR. CRUZ:    In addition to that, your Honor, with

 7     regard to the 3553(a) factors, just the points that I highlight

 8     in my Memorandum, including the effect that this will have on

 9     his family and on his future in terms of his fiancee.            His

10     parents are here in court.      They rely on him.     They rely on his

11     brother.   Any extended period of imprisonment certainly affects

12     them in terms of their financial and emotional well-being.

13                THE COURT:   Well, but this is the not-uncommon

14     circumstance in which a defendant attempts to hold other people

15     hostage to his misfortune.      I am not sure that that is

16     necessarily going to be persuasive to me.        These turn out to be

17     other victims of his crime.

18                MR. CRUZ:    And I state these things as part of his

19     background and circumstances, your Honor.

20                In addition to that, I highlight his health situation,

21     which has suffered to a certain extent while he has been held

22     in custody.    He is a diabetic, and my understanding from

23     reviewing information from the Plymouth County facility, is

24     that, not only has he experienced a somewhat appreciable weight

25     loss because of the situation, but also the treatment that he
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 45 of 52
                                                                               45




 1     is receiving isn't effectively treating his condition.

 2               THE COURT:    That is Plymouth County.      That is not the

 3     Bureau of Prisons.

 4               MR. CRUZ:    I understand that, and I am highlighting

 5     that only to the extent that under the 3553(a) factors the

 6     Court has to consider the administration of medical treatment

 7     in the most effective manner, and what I am suggesting to the

 8     Court is that it's not just an issue of whether medical

 9     treatment is available within the BOP, it's an issue of whether

10     or not that is going to address the issues that he is currently

11     dealing with.

12               THE COURT:    Well, but I think that you have to address

13     who is going to be administering it post-conviction here.

14               MR. CRUZ:    Yes, your Honor.

15               THE COURT:    And that is the distinction I think I am

16     drawing between them.     And I am not necessarily agreeing that

17     there has been less-than-adequate medical services at Plymouth

18     County, but that is a different kind of facility than the

19     facilities that are available in the Bureau of Prisons, which

20     for whom diabetes is not an unknown circumstance among inmates.

21               MR. CRUZ:    No, I understand that, your Honor.        And,

22     again, it's a consideration for the Court in terms of

23     medical-treatment issue.

24               In addition to that, your Honor, I do highlight, and

25     this may go back to the point the Court just made, the issue of
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 46 of 52
                                                                              46




 1     his business and his employees.       That's also affected

 2     negatively by any prolonged incarceration.

 3               I would also ask the Court to consider in terms of the

 4     case itself that it isn't necessarily effective to sentence a

 5     man for a lengthy period of time.       He has been in prison just

 6     about five months, a little over five months at this point.

 7     This is the first incarceration that he has dealt with.          In

 8     terms of sending a message to him and others who are similarly

 9     situated, he has certainly learned from this experience, as he

10     stated to the Court in the letter that he provided.          This is

11     not something that he wants to be a prolonged experience, and

12     it is not something that he would repeat and risk in the

13     future.

14               This situation is limited, I would suggest, to the

15     relationship that he had with Mr. Torosyan.         But for that

16     relationship I would suggest there may not have been an issue

17     with anyone else, your Honor, in the sense that the

18     relationship itself --

19               THE COURT:    I do not understand that.      He has a close,

20     ten-year relationship with somebody, and he nevertheless

21     engages in these kinds of threats?       What does he do for people

22     he doesn't know very well?      That is the flip side of the

23     argument, which you may want to address at a certain point.

24               MR. CRUZ:    Yes, your Honor.     But, again, just that

25     that is what it is rooted in, is this prior relationship, and
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 47 of 52
                                                                           47




 1     that is why the Court should look at it with regard to being a

 2     unique set of circumstances as opposed to a general behavioral

 3     trait of Mr. Tkhilaishvili's.

 4                 So, those are the things that I would want to

 5     highlight for the Court.

 6                 THE COURT:   All right.   I will keep them in mind.

 7                 Mr. Tumposky, anything that you want to address?

 8                 MR. TUMPOSKY:   So, to answer the Court's question,

 9     your Honor, about how do you evaluate the threats as it relates

10     to Jambulat, I think one way to do it is look at the rest of

11     his life.    He is someone who's 47 years old with no criminal

12     record.

13                 THE COURT:   What do I do about the slashing of -- I

14     forget her name now -- or the proposed cutting?

15                 MR. TUMPOSKY:   Well, you know, I addressed it my memo,

16     and I think I'm somewhat at a disadvantage because of the

17     trial.    That came in for a very limited purpose.

18                 THE COURT:   Well, it came in for a limited purpose

19     because I had to instruct the jury that that is not going to

20     affect their judgment about making liability, but it does

21     affect mine --

22                 MR. TUMPOSKY:   Well, understood.

23                 THE COURT:   -- in formulating a sentence.

24                 MR. TUMPOSKY:   But my point is that, because it came

25     in for that purpose, it wasn't really the forum in which I
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 48 of 52
                                                                          48




 1     could possibly address the allegation.

 2               THE COURT:    Well, let me suggest that this probably

 3     will be the forum in which you are going to be addressing at

 4     least that to some degree.

 5               MR. TUMPOSKY:     And what I am saying is that, if I had

 6     had the opportunity to do so at the trial or now, he would say

 7     it didn't happen, and so what more can I say at this point,

 8     unless we want to have another trial?

 9               THE COURT:    I am not sure that changes very much, does

10     it?   This is not a kind of Catch 22, but I am not going to have

11     that evidence, apart from your assertion that that would be

12     said if he could say it.

13               MR. TUMPOSKY:     Understood, your Honor, and what I'm

14     suggesting --

15               THE COURT:    He is not proposing to offer testimony on

16     this, is he?

17               MR. TUMPOSKY:     No, he's not.    But what I'm suggesting

18     is that that came in at trial, it was a passing reference, had

19     a very specific purpose, and I don't think it rises to the

20     level of a sentencing consideration, quite frankly, your Honor.

21               THE COURT:    I will have to tell you that it probably

22     does, probably will affect me here, or at least I am assuming

23     that I find it, and I just tell you tentatively that it was

24     convincing to me at the time.       The argument is made that he is

25     the subordinate here, and to some degree that has to do with
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 49 of 52
                                                                                 49




 1     skills and forcefulness I think, but I am not sure that he is

 2     differently situated for purposes of the conspiracy, somewhat

 3     different role.

 4                 MR. TUMPOSKY:   From a legal perspective of course it

 5     doesn't matter, right?

 6                 THE COURT:   Right.

 7                 MR. TUMPOSKY:   And I'm not even suggesting that it

 8     would be appropriate for there to be a guideline reduction.

 9     But as far as consideration of relative culpability and how

10     that affects the likelihood of re-offense, I think certainly

11     the Court can examine what his role was in the entire

12     operation, including the legal parts of it and the not-so-legal

13     parts of it, and his role was almost inconsequential in the

14     running of the operation.

15                 THE COURT:   I certainly would not take that position

16     about it.    Subordinate, less significant perhaps, but not

17     inconsequential.

18                 MR. TUMPOSKY:   And I don't mean in the offense.          I

19     mean in the operation of the business.

20                 THE COURT:   Right.   So do I.

21                 MR. TUMPOSKY:   He never got a single dollar.        He

22     didn't even have a title.      In fact, I think the evidence was he

23     showed up twice in the year that they were open.

24                 THE COURT:   Right, but for critically important

25     occasions.
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 50 of 52
                                                                             50




 1               MR. TUMPOSKY:     Well, Victor Torosyan testified that

 2     one occasion I think was to threaten him.

 3               THE COURT:    Right.

 4               MR. TUMPOSKY:     So, I'm not saying that he didn't have

 5     a role in the criminal offense.       Obviously, the verdict spoke

 6     to that, and I am not contesting it.        What I am saying is the

 7     Government has gone on about all of the sort of goings on in

 8     the relationships between various people, particularly David

 9     and others, as somehow suggesting that that warrants a sentence

10     at the high end, and, quite frankly, none of those things, to

11     whatever extent they are true, could be applied to Jambulat.

12     His role in the offense is he has no criminal record and his

13     exemplary behavior while on release.        There is no evidence that

14     this is anything but a one-off, an aberrant, quite frankly,

15     behavior for him.

16               And so I think the Court should take those factors

17     into account, and I think the sentence I request is a

18     appropriate.

19               THE COURT:    All right.    Well, you understand the

20     things that are on my mind.      All three of you will have an

21     opportunity to address them when we get to sentencing.

22               What I propose to do is have sentencing renewed and

23     take up the rest of the questions that have to do with the

24     acquittal and forfeiture on November 9th at 2:30.

25               MS. KAPLAN:    That's fine with the Government.
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 51 of 52
                                                                             51




 1               MR. TUMPOSKY:     Yes, your Honor.

 2               MR. CRUZ:    Yes, your Honor.

 3               THE COURT:    All right.    Is there anything else that we

 4     can at least clear up at this point?        I don't think there is.

 5               All right.    So, we will take up the remaining

 6     questions of judgment of acquittal and the forfeiture issue,

 7     which I will treat as related to the larger question of

 8     restitution here of the additional $11,000.

 9               We will be in recess.

10               THE CLERK:    All rise.

11           (The Honorable Court exited the courtroom at 3:45 p.m.)

12             (WHEREUPON, the proceedings adjourned at 3:45 p.m.)

13

14

15

16

17

18

19

20

21

22

23

24

25
     Case 1:16-cr-10134-DPW Document 202 Filed 04/30/18 Page 52 of 52
                                                                           52




 1                           C E R T I F I C A T E

 2

 3

 4               I, Brenda K. Hancock, RMR, CRR and Official Court

 5     Reporter of the United States District Court, do hereby certify

 6     that the foregoing transcript constitutes, to the best of my

 7     skill and ability, a true and accurate transcription of my

 8     stenotype notes taken in the matter of United State of America

 9     v. Tkhilaishvili, et al., No. 1:16-cr-10134-DPW.

10

11

12

13

14     Date:     04/30/18                     /s/ Brenda K. Hancock
                                             Brenda K. Hancock, RMR, CRR
15                                           Official Court Reporter

16

17

18

19

20

21

22

23

24

25
